
USCA1 Opinion

	




        May 20, 1992            [NOT FOR PUBLICATION]                                 ____________________        No. 91-2336                                     PAUL SIMMONS,                                Plaintiff, Appellant,                                          v.                              PAUL G. DICKHAUT, ET AL.,                                Defendants, Appellees.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                     [Hon. A. David Mazzone, U.S. District Judge]                                             ___________________                                 ____________________                                        Before                                 Breyer, Chief Judge,                                         ___________                            Selya and Cyr, Circuit Judges.                                           ______________                                 ____________________            Paul Simmons on brief pro se.            ____________            Scott  Harshbarger,  Attorney  General,  and   Andrea  J.  Cabral,            __________________                             __________________        Assistant Attorney General, on brief for appellees.                                 ____________________                                 ____________________                 Per Curiam.   The  appellant, Paul Simmons,  appeals the                 __________            grant  of  summary  judgment  in defendants'  favor  and  the            dismissal of  his complaint,  filed pursuant  to 42  U.S.C.              1983.  We affirm.                 In 1986,  we reversed the district  court's dismissal of            appellant's complaint for failure to state a claim.   Simmons                                                                  _______            v. Dickhaut, 804 F.2d 182 (1st Cir. 1986).  We concluded that               ________            an allegation of intentional violation of the right of access            to the courts states a cause  of action under   1983 and that            appellant had alleged facts adequate to show more than simply            a procedural due  process/deprivation of property  claim, but            rather an intentional  deprivation of his right  of access to            the courts, protected as a substantive, constitutional right.            Id.  at 185.    While  we  directed  that  his  complaint  be            ___            reinstated, we cautioned appellant  that, on remand, he still            had to                      fill[] in the particulars of his claim to                      withstand a motion for  summary judgment.                      We intimate no  opinion about the success                      on the merits of Simmons's allegations.            Id.            ___                 On   remand,  appellant   sought   to  "fill[]   in  the            particulars  of his claim"  by attempting to  show the injury            which he  claimed resulted  from the defendants'  intentional            deprivation  of his right of access to the courts.  Appellant            claimed that, had  he had  his legal material,  (1) he  would            have been  able to substantiate  his claim of  an involuntary                                         -2-            guilty plea to a 1981 charge of armed robbery;  (2) the state            court would have revoked his sentence on the guilty plea; and            (3)  an indictment  on a  different charge,  which later  was            brought forward  and pursuant to which  appellant received an            additional 18-20 years, would have been dismissed.                 The  district  court  did  not  address  any  aspect  of            appellant's  alleged  injury.    Rather,  it  concluded  that            appellant's claim  suffered  from a  failure of  proof on  an            antecedent  element  of  his  claim  and granted  defendants'            motion for summary judgment.                 As  we have recited countless times, we review the grant            of summary judgment de novo.  E.g., Rodriques v. Furtado, 950                                          ____  _________    _______            F.2d  805, 808  (1st Cir.  1991).   The  question we  face is            whether there  is "any genuine factual  issue[] that properly            can be resolved  only by a  finder of fact  because [it]  may            reasonably  be resolved in favor  of either party."  Anderson                                                                 ________            v. Liberty Lobby, Inc.,  477 U.S. 242, 250 (1986).   In order               ___________________            to establish liability under   1983, appellant has to show an            intentional deprivation of his right of  access to the courts            and that  defendants' conduct was causally  connected to that            deprivation.  Gutierrez-Rodriguez v. Cartagena, 882 F.2d 553,                          ___________________    _________            559 (1st Cir. 1989).                 The  record  essentially  reduces  to   these  competing            contentions.                 Appellant   claims:   I   had  personal   property,            including      legal material, in my  possession.  I left it.                                         -3-                           The defendants took possession of my property.                           Despite prison regulations  which require  the                           defendants to forward my property to me, I had                           to  ask three  times  for  my legal  material.                           When I  got my property  back, I was  told the                           legal material was not there.                 The  defendants  respond:  Appellant  lived  in  an                      unlocked  dormitory,  where other  inmates had                      access to  his  personal property.   He  never                      requested   that   any   legal   material   be                      separately  inventoried or stored  in a secure                      location.   The  property  officer,  who  took                      possession   of  appellant's   property  after                      appellant's   escape,   including  a   box  of                      miscellaneous books and papers,  never removed                      or tampered with anything in that box while it                      was in his custody.   And, to the best  of the                      property  officer's  knowledge and  belief, no                      one removed or tampered  with anything in that                      box  from   the  time   it   was  taken   from                      appellant's room until it was retrieved by the                      person authorized by appellant to do so.                 Appellant claims  that he  had legal material  among his            possessions.   In any event,  defendants do not  deny that he            had  legal material; rather, they are saying that they do not            know  whether he  did or  not.   Appellant apparently  has no            personal  knowledge  that his  legal  material  is, in  fact,            missing.   His filings have always recited that he "was told"            that his legal material  was not among his  personal property            that  was picked up by Robert Lockett.  Accepting the premise            that appellant had legal material among his personal property            and  that it was not  there when the  property was retrieved,            the  inference he then asks  that we draw  is that defendants            (a)  confiscated it (b) with the intent to interfere with (or            were  either  reckless or  callously  indifferent about,  see                                                                      ___                                         -4-            Germany  v. Vance, 868 F.2d 9,  18 (1st Cir. 1989)) his right            _______     _____            of access to the courts.                                         -5-                 The Court has stated that                      there is no issue for trial  unless there                      is   sufficient  evidence   favoring  the                      nonmoving party  for a jury  to return  a                      verdict for that party.   If the evidence                      is   merely   colorable,   or    is   not                      significantly probative, summary judgment                      may be granted.            Anderson v. Liberty Lobby, Inc., 477 U.S. at 249-50 (internal            ________    ___________________            citations omitted).                      The  mere  existence  of  a  scintilla of                      evidence  in  support of  the plaintiff's                      position will be insufficient; there must                      be  evidence  on  which  the  jury  could                      reasonably find for  the plaintiff.   The                      judge's  inquiry, therefore,  unavoidably                      asks whether reasonable jurors could find                      by a preponderance  of the evidence  that                      the   plaintiff   is   entitled    to   a                      verdict....            Id. at 252.            ___                 "On issues where the nonmovant bears the ultimate burden            of  proof, he  must present  definite, competent  evidence to            rebut  the motion."  Mesnick  v. General Elec.  Co., 950 F.2d                                 _______     __________________            816,  822 (1st  Cir.  1991),  petition  for cert.  filed,  60                                          __________________________            U.S.L.W.  3689  (U.S. Mar.  9,  1992)  (No. 91-1528).    "The            evidence  illustrating  the  factual  controversy  cannot  be            conjectural or problematic."   Mack v. Great Atl. &amp;  Pac. Tea                                           ____    ______________________            Co.,  871  F.2d  179,  181  (1st  Cir.  1989).    Appellant's            ___            "evidence" that  defendants confiscated his legal material is            no more than "merely colorable" or "a scintilla of evidence,"            and  is not enough to  support a jury  finding in appellant's            favor by a preponderance of the evidence.  The district court                                         -6-            correctly  concluded that  the  factfinder would  be left  to            conjecture or speculation.                 Contrary to appellant's apparent belief, our reversal of            the district  court's prior dismissal for failure  to state a            claim  did not  relieve him,  on remand,  from the  burden of            providing sufficient  factual support of a  causal connection            between  defendants'  conduct  and  the  alleged  intentional            deprivation  of his right of access to  the courts.  While we            concluded that  the district  court had  erred,  in 1986,  in            construing appellant's  complaint as alleging no  more than a            negligent deprivation of property, allegations  which suffice            to survive a dismissal, pursuant to Fed. R. Civ. P. 12(b)(6),            are  not  necessarily  sufficient   to  survive  the  summary            judgment hurdle.  See  Ochoa Realty Corp. v. Faria,  815 F.2d                              ___  __________________    _____            812, 814 n.1 (1st Cir. 1987).                 Finally, we  add that  there are  some obvious gaps  and            leaps  of faith in  appellant's reasoning  in support  of his            claim  of  injury.    Apart from  this  concern,  appellant's            allegation of injury  is problematical.   At a December  1985            state  court hearing  on  his postconviction  motion, it  was            learned  that the  court reporter  had lost  her stenographic            notes  of  appellant's 1981  guilty  plea  proceeding, so  no            transcript of that plea proceeding existed.  If, as appellant            suggests, his request for postconviction relief, alleging  an            involuntary guilty plea, was dismissed by the state court for                                         -7-            failure of proof, it  likely was because appellant  could not            substantiate  his  claim of  an  involuntary  plea without  a            transcript  of the  1981  plea proceeding.   That  dismissal,            therefore,  did not  result  from any  confiscation of  legal            material  by defendants,  who  could not  have confiscated  a            transcript which did not exist.                 A  generous  reading  of  some  of  appellant's  filings            suggests  that appellant also  may have  claimed that  he had            legal material, such as  copies of state court postconviction            motions and  supporting memoranda, among  the legal  material            allegedly  confiscated.  At the hearing on his motion seeking            to vacate his guilty plea (where appellant was represented by            counsel), the judge acknowledged that he had received "a  lot            of papers directly from Mr. Simmons" and he would "reread the            papers that I have which I got directly from your  client and            take into  consideration what  you have  pointed out in  your            arguments."    Assuming  that  legal  material,  related   to            appellant's  attempts to  vacate  his 1981  guilty plea,  was            among  the "miscellaneous  books and  papers"  in defendants'            possession  after July 1985, it appears likely that the judge            had  that  material  in  any  event  and  unlikely  that  the            dismissal   of  his  state  court  postconviction  proceeding            resulted from appellant's inability to produce copies of that            material.                                         -8-                 Whether a plaintiff, who  alleges a denial of  his right            of access to the  courts, must plead and prove  the existence            of  an  actual   injury  depends  upon  the   extent  of  the            deprivation.   Sowell v. Vose,  941 F.2d 32,  34-35 (1st Cir.                           ______    ____            1991).  "A prisoner need not show that the deprivation caused            him  an  independent  injury  where  the  deprivation  is  so            significant as  to constitute  an injury  in and of  itself."            Id. at 34.   "Missing documents do, in a sense, constitute an            ___            'absolute' deprivation."   Id.  at 35.    Even assuming  that                                       ___            appellant  was  not required  to show  an actual  injury, he,            nevertheless,  has to  show a  causal connection  between the            defendants'  conduct  and the  deprivation  of  the right  of            access to the  courts.  Appellant's  evidence of injury  cast            doubt,  not only  on  the existence  of  injury, but  on  the            existence  of a deprivation, as well.   While the defendants'            conduct may  have deprived  appellant of his  legal material,            that conduct does  not appear  to have deprived  him, in  any            meaningful way, of his access to the courts.  On this record,            any confiscation of legal  material, if it occurred,  did not            adversely impact on  his ability to participate in  any court            proceeding  in  which he  was  involved.   No  constitutional            deprivation occurred.                 Affirmed.                 _________                                         -9-

